                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA             )
                                     )
v.                                   )          Case No. 21-cr-225 (DLF)
                                     )
TRENISS JEWELL EVANS III,            )
                                     )
      Defendant.                     )


                  UNOPPOSED MOTION FOR CONTINUANCE

TO THE HONORABLE DABNEY L. FRIEDRICH, UNITED STATES
DISTRICT JUDGE FOR THE DISTRICT OF COLUMBIA:

      Now comes Defendant, TRENISS JEWELL EVANS III, by and through his

undersigned counsel, and respectfully moves this Honorable Court for an order

continuing his scheduled hearing and in support would show the following:

                                          I.
      Defendant’s Sentencing Hearing is scheduled for May 23, 2022, at 1:00 p.m.
                                         II.
      Undersigned Counsel respectfully requests continuance so that Mr. Evans may

attend a celebration of his next-door neighbor and friend, who passed away. The

celebration is currently schedule for Saturday, May 21, 1:00 p.m. (CST), in San

Antonio, Texas.

                                         III.
      Undersigned Counsel respectfully requests a 2-week continuance.
                                         IV.
      Undersigned counsel has conferred with Christopher Brown, Assistant United

States Attorney, regarding this Motion and Mr. Brown is unopposed.
      This Motion is made not for the purposes of delay.

      WHEREFORE, PREMISES CONSIDERED, Defendant, TRENISS JEWELL

EVANS III respectfully requests this Honorable Court to grant this Motion for

Continuance, and for such other and further relief as this Honorable Court deems

just and proper.




Dated: April 20, 2022                 /s/ John M. Pierce
                                      John M. Pierce
                                      21550 Oxnard Street
                                      3d Floor, PMB#172
                                      Woodland Hills, CA 91367
                                      Tel: (213) 279-7846
                                      Email: jpierce@johnpiercelaw.com

                                      Attorneys for Defendant Treniss Jewells
                                      Evans III
                           CERTIFICATE OF SERVICE

      I hereby certify that, on April 20, 2022, this motion and the accompany

declaration was filed via the Court’s electronic filing system, which constitutes

service upon all counsel of record.


                                        /s/ John M. Pierce
                                        John M. Pierce
                         UNITED STATES DISTRICT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA           )
                                   )
v.                                 )      Case No. 21-cr-225 (DLF)
                                   )
TRENISS JEWELL EVANS III,          )
                                   )
      Defendant.                   )


                                  ORDER

       On this date came on to be considered Defendant TRENISS JEWELL

 EVANS’ Unopposed Motion for Continuance, and said Motion is hereby

     GRANTED       DENIED.

 SIGNED on this the     day of           , 2021.



                                       HONORABLE DABNEY L. FRIEDRICH
                                       UNITED STATES DISTRICT JUDGE
